Case 1:16-Cv-OO425-KB.] Document 1-2 Filed 03/03/16 Page 1 of 6

EXHIBIT B

Amended Complaint to Trans Union, LLC

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CaS€ 1216-CV-OO425-KB.]

rAr:KSr)N PH!LHP Mr")§;l.!~:Y
4422 35"‘ S'l‘RHEi‘. Nw
WASHIN(_;'!‘ON. 1)<: 20<)03
703*395-1596

Document 1-2 Filed 03/03/16 Page 2 of 6

 

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SUPERIOR COURT GF THE DISTRICT OF COLUMBIA

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4422 35"‘ S:reet. NW` Washingmn. !')(,` 2(){)0}§_
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f~`,QU\F/\X ("Rlif)l"l` lNF(,')RMA'{`lUN ."jHR\/f(`£i$.

LLL.\ i"’.£). B<)x 74025(). Adantu, GA 3(}348:

HX!)}`.€R¥AN lNF()RYviA‘i'l()N S()LU`I`I()NS. lN(,.`..

P.(). Hox 4500v A|Icn, `1`X 75013; `I`RANSUN|()N
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16-00r299

REM'{)VAL ()F }ERRANT !Nf"()RMA'f'I()N FR()M
(`_`FRHDI'l` REP(`)R`I'!NG A(i}iN(`Y REPOR'¥`S

l , jurisdiction of £his court is founded on D.C. (`,`udc Annr)m£cd. Z(K')! cditi\)n. ns amcndcd. Sec. 1 l»92l.

2. Pl;ximit`t` alleges mut nn m about the month 01` May in the )c;xr 20!4, upon submitting 21 credit upp|icmir)n

m purchase a new \'chir;lc. he discovered that n mud of sixteen rc\'o!ving credit axccc)ums. i'<.)ur insm§lmcm accr)urns.

RE,CE;VED
Civi! Cl€:rk’s Offi€:e

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Disrrict of flowme

Washington, D.C.

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r\\-‘clve cr)\iec\`xrm uccmmls` and four puh¥ic judgement records had been opened or med in his name signing in thc ./’AU

year 2010-afl delinquent fmudulcm. and errant /\dditirm:d|y. Cuunl§css hard credit inquirics.crr:'ml addresses. ;md

crr;ml phone numhvrz'; were listed run !"|:Iiimif'!"s credit bureau rcpr)rt. Pldix\ti(`l` !`r>!luwcd normal procedures for

reporting identity theft 115 prescribed by !)c!'cndm\(s. I!prm invcsi`rg;di¢m by ¥)¢:f'endants. Pl;iimi!`!` was determined m,

 

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Case 1:16-Cv-OO425-KB.] Document 1-2 Filed 03/03/16 Page 3 of 6

SUFER{OR COURT OF Tl'lE l)lSTRlCT ()F C()LUMB|A ~ ClVlL l)lVlSl()N

in l`uct. be a victim \)l` identity theft. l")efendnnts removed all public judgement recorder the majority of collection

nccounts, all hut one installment nccount. and all but two revolving credit accounts. l)cl`endants informed l’luintifl"

that the remaining accounts were found to he accurate and true. Plnintiff informed l_)et`endants that the remaining

accounts were, in lnct, not accur:ite, and that. aside from one secured credit card opened With USAA Snvings llaulc 7%/
in August of 2012-which l’luintil`f opened for the purposes ol` establishing credit history at the advice of his huuk~ l

one Fedeml student loan, and several accounts that he was made nn authorized user on, i-"laintit`f had not sought or

applied for credit until Mny' of ZOE-t when he was interested in purchasing a new vehicle upon his graduation from

universityl lf)cfcndunts launched countless irtvestigution.~;, catch time wanting l’laintit'f':'s time, all returning results that

the information listed on the report was accurate Additionally. l)efettdants informed Plaintii`l that they could not

remove errant addresses or hard credit inquiries from his report l)eferttlnttts, even after numerous requests by

l’laimit`t', were unable to furnish written proof that the information known to Plaintil‘f ns errant was, in t‘;-tct, uccurute.

'l`he Del`endants` negligence to remove the errant information have resulted in Plnintil`t` being perceived us

untrustworthy \rnrelinhle, and, in some cases "21 crook." Further, it has resulted in l’l:titttil`l' being unfairly ntibjectcd

to highly unt`uvt.imhlc terms for financial and insurance nccounts‘ the denial of n mortgth loan for Plaintil`t', the

denial of nn apartment lease from a major property management l`mn. and the and tire inability to grow l~’lninliff‘s

small business due to Pluintit`l"s inability to show he is n trustworthy seeker of credit. lixhuusted with the situation, //
which hud now elapsed more than n full year since initial discovery l"’luintil`t` borrowed nearly liftcen thousand /7
dollars from his family to pay ol`l` the fraudulent delinquent accounts during the Suturner ot` ZUl S, with hopes of

being nhlc to obtain at mr.)rtguge on a home iftltose accounts were satisfied litton paying the uccounts‘ l)efend:.ints

updated the credit records as "pnid." however the records were still listed and were still negative 'l`ltis complaint

~¢cr\’es as l’lnint.'ti`l"s inst resort l`nr seeking reliet` from the \‘ictintirntion of identity thei't'. i>l:tintiit` is an upstnnding

citizen, grnduuted top of his elrsz from Anneric;in liniversity, and has countless references proving his chztrztcter.

l’lnintit`t` has never once been late on rt payment to :,rn uccount»zts represented hy his irnmneulztte payment history

front Muy Z(il~l toward l'lt)\\ewcr. iu rt world highly dependent on l)el`entlunts` credit report product$. he is

perceived in n highly negative light by potential hunlt:;, insurance companies__ emplo“\erz;l ziud :_tll other parties

seeking credit bureau reports.

 

Case 1:16-Cv-OO425-KB.] Document 1-2 Filed 03/03/16 Page 4 of 6

SUPER§OR C()URT ()F THE I)IS"E`RICT (,)F COLUMB[A ~ ClVlL l)lVlSlON

44 .i. l’laintil'l` respectfully and with thc utmost tlcspcnttion for n more financinin sound lit`c. stocks equitable
45 rclicl' lrom thc court in this matter. l’laintilf hair nn intercstt in justice and, l`urtltcr. does not wish to cause an cxtcndcd
46 legal huttlc, 'l'hcrcl`ore, l’luintil`l` does not wish to seek monetary duniagc>'. t` or thc money paid to tl\c crnutt accounts
47 in this i'nattcr, and waivers his right to du so in thc l'uture. l’laint.il'l asks judge to enter irrevocable judgement

48 commanding l)cfendtmts to remove thc l`t')llo\\-’irig crr'<tnt ittlurmatiti)u l`rom i’laintill"s credit history rcport: /%

49 l_) t')n thc report maintained by l`)cl'cttdttttt l£QUlFAX (`Ri".l)l'l` INF()RMA`I`H.`)N SERVI("E.S:

50 ;t) Rcvolving credit line listed ns “(`apital (`)nc think llsa," opened itt Suptcinbcr ul` ZOlO, with current status

5 l us "chnrged<ut`t` account."

52 hi Rc\’olving crcdit linn listed nn "(`Titicnrd.~; (.`hna.` opened in .lune ol ZOlt'l. with current status ns “chargcd-

53 ut`t`."

54 ci Velticlc installment ioztn listed as "Usaa Fedcrztl Savings." opened in june of Zt)tt) with l"l:tintil`l`ns a co-

55 lf)t,)rr<)wcr, with current status as "chnrge~ot"f"

56 tl) (`.oiicction account listed us "Midlztnd l~`unding l.lc." opcncd in April ot` 2013.

57 cl All hard credit inquirer occurring on or before April ot` 2(>l~i.

58 l`) All phone munizch and utldrt:.<ts<cs HX(."'El’l` l`or thc l`ollowing accurate ttddressca:

59 i) (`urrcnt addresz; front August ol Zt)l 5 until prc.\;cnt: 4422 35“’ Strt:e.t. NW, Washington` i'}l.j.`. 20tth

60 iii l’rcviou:t address from tunc of lill_i to Au§zust ot’Z(ll:'); _ilt)l Ncw Mcxico Avcnuc. NWt Al’l" 203, //
6l Washirtgton, l,`)(`. 20016 /M
62 iii) l’rc\'ious address from lunc of 20|{) to .lunc ol` Z(ll`i: 3656 Ncw l'lnmpshirc Avcnuc. NW, Al’l` 3,

63 Wusht'ngton_ l_)(.` 20010

64 ivy l”rcviou.s uddrcss from i"chruary 2006 toluuc ot` Elllti: l026 North l')i..\tun Strcct, Alma, (`icorgia, 3 l 5 l(t

65 v) ("urrcnt cell phone number held l`rom june oi' 2010 until present 703~395- l`“'»%

66 vii l"rcvioun cell phone number held from Auguz;t ol` 2008 to june t)l' 2tllfl: Ql 2--6l4~8226

67 tii) l’rcvious londliuc phone number held front Septcml)cr ol` 2003 to ,lunc of Zl}l(l; 9l2»632~9965

68 2) t)n the rcpt)rt maintained by i)cl`eudant lin’l'iRlAN lNl'-`()RMA`{'|()N S£)i,ll'l'll)NSt IN(`,'.:

69 ul Rcvol\l ing credit line listctl us "'(`apital t.)nc liztnk linn N opened in Scptcmher ot` Ztittt, with current status

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Case 1:16-Cv-OO425-KB.] Document 1-2 Filed 03/03/16 Page 5 of 6

S`UPF.RIOR C()UR`!` OF THE DFSTRICT ()F COLUMBIA »- ClVlL DlVlS!ON

as h/\cconnt legally paid in full for less than the l`nll h:tlnnce"

Re.vnlving credit line listed ns '°(.`iti," opened in june t)l` 2010. with current status as "Account legally paid

in full t`t`)t' less than the full halttnce."

Vchiclc installment lt)nn listed as "Us:xn Fecl Svg Bk - San An," opened in luna 01`21)10 with l*laintil`l` as a

co-bnrrower, with current status as " hyman after charge nl`l`!ct)llcctlt)n."

{‘T<)llectit)n account listed as “Mitltan¢l Fttnd` opened in Fcbrnnry of 21)1.1.

("t)tlcctic_)n account listed as "l’innztclc (`rcdit Serviccst" opened in February <)l` 21)14.

All hard credit inquires occurring tm or before April t)t" 2014.

All phone numbch and addresses HX(YE¥’l` for the fnll¢.)wing accurate addresses

i) (Turrcnt address from August 01` 2015 until present 1422 35"’ Street, NW, Washingttm, 1)(`, 20()08

ii) l’rev§t)us adclres$ from Jttne ul` 2013 tn Attgust 01`21115: 3101 Nc\v Mc':.\icu Avenm:, NW. Al’l` ?.{)."lk
W:)Sbingtun, D("" 2()()16

iii) 1’rcvi0us address 1`r1)m .lnne of 2010 to lime 01 2()l .’): 3()56 New Hampshire Avcnue. NW. Al”l` 3.
Wnshingtc`)n_ 1)(T Z(Kll()

it-') Pre.vic)us address from l'~`ebrtxar_v Z(lt'lé to june 1)1`201(): 1026 Nnrtl) Dix<)n Str¢:ct. Almn` (`;cnrgia, 31510

v,) (anrctn cell phone number held from lime uf Z»Gl(l until present 703~.195< 1596

viz l’rc»vimin cell phone number held l`rt.)m Angust <)l' 2008 tn june 01` 2010: 912~61¢1~8226

vii) l’rcvir.)tts lzmdlinc plume number held from Scptcntl)er ¢.)l' 2003 to luna t)l' 2011): 912-1632~9965

()n the report maintained by l)cl`cmiant 'l`RANSilNlON l..l.(`_`:

;t)

b y

C)

tl)

Re\¢ulving credit line li.<;tetl as "(f:ipital (')nc thnlt lisa Nt't," opened in Scptcmbcr of 2()10, with current
status ns "P;tyment ztl`tcr charge <)ft`f<:t)llectinn"

Revnlving credit line listed ns "(`iticnrds: (_flmn." npcnctl in Jum: of 2010. with current Stutns as "l’uymcnt
utter charge t')l`l'/ct')llt:ctit)tt."

Vchic.lc installment loan listed ns "!l.\'n;t lied St-‘g 13k ~ linn An§` opened in lunc c)t` 2010 with 1°lnintil`f ns a
c't)-burrowcr. with current Stntn,~’; nn "l’tt_yencnt after charge t)i`l!cullcctinn."

(`nllcctit_)n account listed as "Mitlltxm;l l~'t\n<l." opened in Fc.hrnnry ul` 21113.

 

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Case 1:16-Cv-OO425-KB.] Document 1-2 Filed 03/03/16 Page 6 of 6

SUPERIOR COURT {)F THF, DXSTRICT ()F C()LUMB|A. ~ ClVlL DW’IS]()N

C<)llec!icm accounl listed as “Pin (`rcd Scr." opened in Fcbruary of 2014.

Alf hach credit inquires occurring on <)r hc¢`<)re April n!` 2()!4.

AH phone numbers and addresses HX(.`HP'I` fm the fbllowing accurate addresses

i) (`furrent address from Augusc of 2015 until present ~'¥422 35“‘ Strce\‘ NW. Washinglc)n, D(`, 20008 /

ii) I’rcvi<ms address from lane c)f 2013 to Aug,ust of 20\5: 3!0! Ncw Mcxicc) As'enue. NW, Al’l' 203. }/%
Washing£c)n, f')(`. 2001 6

iii) Prcviuus address from .|une of 20\() in .l\me of 20!3; 3656 New Hampshire Avenuc, NW, AP'!" 3.
Washingr¢)n, D(". 2(}()10

iv) Previ<ms address from }~`chmary 2006 m hme of 2()|(}: 102§ Nonh {)ix<m Strcct. Alma. Gcc)rgia. 3 1510

v) (`urrcm cell phone number hc!d from june of 2010 untii present 7(}3~395»1596

vi) Pr<:vic)us cell phone number held from August of 2008 to June c)l` 2010: 912-6!4»8226

vii) Prcviwus land}im: phone number held from Scptemhcr uf 2003 10 June of 201(k ‘)12~632~‘)‘965

I);ued this !()!h day of Februa\'y, 2016

JA(`..`.KS{)N PH}[.,UP M(')SLEY. Pr<) Sc

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703~395.15<)6 w`\\\‘ go § C,
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